EXHIBIT 40




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                          SIX CONTINENTS HOTELS, INC.
                      8

                      9                              UNITED STATES DISTRICT COURT

                     10                          NORTHERN DISTRICT OF CALIFORNIA

                     11

                     12   LAURA MCCABE and LATROYA                          CASE NO. C12-4818-NC
                          SIMPSON, individually and on behalf of
                     13   similarly situated individuals,                   DECLARATION OF MONICA D. SCOTT
                                                                            IN SUPPORT OF MOTION AND
                     14                        Plaintiffs,                  MOTION TO EXCLUDE THE EXPERT
                                                                            REPORT AND TESTIMONY OF
                     15           v.                                        RANDALL A. SNYDER

                     16   SIX CONTINENTS HOTELS, INC.; and                  Date:      September 24, 2014
                          DOES 2 through 10, inclusive,                     Time:      1:00 p.m.
                     17                                                     Place:     Courtroom A, 15th Floor
                                               Defendants.
                     18

                     19                                                     Complaint Filed:   July 8, 2012
                                                                            FAC Filed:         July 19, 2012
                     20                                                     SAC Filed:         Oct. 11, 2013
                                                                            Trial Date:        None
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DLA P IPER LLP (US)
                          EAST\69763416.1
    LOS A NG EL ES         SCOTT DECLARATION IN SUPPORT OF MOTION TO EXCLUDE THE EXPERT REPORT
                                           AND TESTIMONY OF RANDALL A. SNYDER
                            Case 3:12-cv-04818-NC Document 90-2 Filed 08/15/14 Page 2 of 97



                      1           I, Monica D. Scott, declare and state as follows:

                      2          1.         I am an attorney in the Los Angeles office of DLA Piper LLP (US), counsel of

                      3   record for Defendant SIX CONTINENTS HOTELS, INC. (“Six Continents”). I have personal

                      4   knowledge of the facts contained in this Declaration and, if called as a witness, could and would

                      5   testify as to their accuracy.

                      6          2.         A true and correct copy of the Declaration of Randall A. Snyder sent to me by

                      7   Plaintiffs’ counsel via e-mail on July 7, 2014 is attached hereto as Exhibit “A.”

                      8          3.         Mr. Snyder was deposed in this action on July 23, 2014. True and correct copies

                      9   of selected pages from Mr. Snyder’s deposition transcript are attached hereto as Exhibit “B.”
                     10

                     11           I declare under penalty of perjury under the laws of the United States of America that the
                     12   foregoing is true and correct. Executed this15th day of August 2014, in Los Angeles, California.
                     13

                     14                                               s/ Monica D. Scott
                                                                      MONICA D. SCOTT
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                                           AND TESTIMONY OF RANDALL A. SNYDER
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